 1
     DELOITTE & TOUCHE LLP
 2   Timothy Gillam
     555 Mission Street
 3   San Francisco, CA 94105-0920
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 5   Independent Auditor and Advisor

 6                               UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
 7                                    SAN FRANCISCO DIVISION

 8    In re:
                                                  Bankruptcy Case No.19-30088 (DM)
 9    PG&E CORPORATION
                                                  Chapter 11 (Lead Case) (Jointly Administered)
10             - and –

11    PACIFIC GAS AND ELECTRIC                     TWELFTH MONTHLY FEE
      COMPANY,                                     APPLICATION OF DELOITTE & TOUCHE
12                                                 LLP FOR ALLOWANCE AND PAYMENT
                                          Debtors.
                                                   OF COMPENSATION AND
13
      __Affects PG&E Corporation                   REIMBURSEMENT OF EXPENSES FOR
14    __Affects Pacific Gas and Electric           THE PERIOD APRIL 1, 2020 THROUGH
      Company                                      APRIL 30, 2020
15    X Affects both Debtors
                                                   Objection Deadline: July 10, 2020 at 4:00 p.m.
16    *All papers shall be filed in the Lead Case, (Pacific Time)
      NO. 19-30088 (DM).
17                                                 [No Hearing Requested]

18

19   To: The Notice Parties

20   Name of Applicant:                                Deloitte & Touche LLP

21   Authorized to Provide Professional Services to: Debtors and Debtors in Possession

22   Date of Retention:                                July 24, 2019 nunc pro tunc to January 29, 2019
23   Period     for      which   compensation   and April 1, 2020 through April 30, 2020
24   reimbursement are sought:
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     Amount of compensation sought as actual $366,180.00 (80% of $457,725.00)
26
     reasonable, and necessary:
27
     Amount of expense reimbursement sought as $0.00
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     actual, reasonable, and necessary:


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               Deloitte & Touche LLP (“Deloitte & Touche” or the “Applicant”), independent auditor and
 3
     advisor to PG&E Corporation and Pacific Gas and Electric Company, debtors-in-possession herein
 4   (the “Debtors”), hereby submits its twelfth monthly fee statement (this “Monthly Fee Statement”)
 5   for allowance and payment of compensation for professional services rendered and for
 6   reimbursement of actual and necessary expenses incurred for the period commencing April 1, 2020
 7   through and April 30, 2020 (the “Fee Period”), pursuant to the Order Pursuant to 11 U.S.C. §§ 331
 8   and 105(a) and Fed. R. Bankr. P. 2016 for Authority to Establish Procedures for Interim
 9   Compensation and Reimbursement of Expenses of Professional dated February 27, 2019 [Docket
10   No. 701] (the “Interim Compensation Procedures Order”).

11             By this Monthly Fee Statement, Deloitte & Touche requests the allowance and payment of

12   $366,180.00 (80% of $457,725.00) as compensation for professional services rendered to the

13   Debtors during the Fee Period. Deloitte & Touche did not incur any expenses during this Fee

14   Period.

15             Annexed hereto as Exhibit A is the name of each Deloitte & Touche professional who

16   performed services for the Debtors in connection with these chapter 11 cases during the Fee Period

17   covered by this Monthly Fee Statement and the hourly rate and total fees for each professional.

18   Attached hereto as Exhibit B is a summary of hours during the Fee Period by task. Attached hereto

19   as Exhibit C are the detailed time entries for the Fee Period.

20             In accordance with the Interim Compensation Procedures Order, responses or objections to
     this Monthly Fee Statement, if any, must be filed and served on or before the 21st day (or the next
21
     business day if such day is not a business day) following the date the Monthly Fee Statement is filed
22
     (the “Objection Deadline”) with this Court.
23
               Upon the expiration of the Objection Deadline, the Applicant shall file a certificate of no
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     objection with the Court, after which the Debtors are authorized and directed to pay the Applicant an
25
     amount equal to 80% of the fees and 100% of the expenses requested in this Monthly Fee Statement.
26
     If an objection is properly filed, the Debtors shall be authorized and directed to pay the Applicant
27
     80% of the fees and 100% of the expenses not subject to an objection.
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 1
     DATED: June 19, 2020.
 2
                                                 DELOITTE & TOUCHE LLP
 3

 4
                                                 By:
 5                                                       Timothy Gillam
                                                         Partner
 6                                                       555 Mission Street
                                                         San Francisco, California 94105-0920
 7
                                                 Independent Auditor and Advisor to the Debtors
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